
PER CURIAM.
Gary E. Curley appeals the denial of his motion for postconviction relief. Only one of the issues he raises, ineffective assistance of counsel, is facially sufficient and not conclusively refuted by the record before us. Therefore, we reverse and remand for attachment to the order of those portions of the case file and record which demonstrate that Curley is entitled to no relief; otherwise the court must conduct an evidentiary hearing to determine the merits of Curley’s first claim alleging ineffective assistance of counsel.
The balance of Curley’s claims are without merit.
Affirmed in part, reversed in part, and remanded.
PARKER, A.C.J., and PATTERSON and LAZZARA, JJ., concur.
